                            IN THE UNITED STATE DISTRICT COURT
                              EASTERN DISTRICT OF TENNESSEE
                                       AT KNOXVILLE

UNITED STATES OF AMERICA,                             )
                                                      )
               Plaintiff,                             )
                                                      )      No. 3:05-CR-96
                                                      )      (JORDAN/GUYTON)
V.                                                    )
                                                      )
LARRY DANIEL WALDO,                                   )
                                                      )
               Defendant.                             )

                                MEMORANDUM AND ORDER

               All pretrial motions in this case have been referred to the undersigned pursuant to 28

U.S.C. § 636(b) for disposition or report and recommendation regarding disposition by the District

Court as may be appropriate.

               The defendant Larry Daniel Waldo has withdrawn his pending motions based upon

an agreement reached with the government [Doc. 80]. Accordingly, defendant’s Motions [Docs. 66,

68, 70, 72 and 75] are hereby DENIED AS MOOT.

               IT IS SO ORDERED.

                                              ENTER:

                                                    s/ H. Bruce Guyton
                                              United States Magistrate Judge




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